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     8                            UNITED STATES DISTRICT COURT
     9                          CENTRAL DISTRICT OF CALIFORNIA
    10     JOSE VALENZUELA, individually and             Case No.: 2:24-cv-00257-MRA-JPR
           on behalf of all others similarly situated,
    11                                                   Assigned to Hon. Mónica Ramírez
                                      Plaintiffs,        Almadani
    12
           v.                                            [PROPOSED] ORDER GRANTING
    13                                                   DEFENDANT EVERI GAMES INC.’S
           EVERI GAMES INC., and DOES 1                  MOTION TO DISMISS AND/OR
    14     through 10, inclusive,                        STRIKE PLAINTIFF’S SECOND
                                                         AMENDED COMPLAINT
    15                                Defendants.        PURSUANT TO FED. R. CIV. P.
                                                         12(b)(6) AND 12(f)
    16
                                                         Hearing Date: May 23, 2024
    17                                                   Hearing time: 1:30 p.m.
                                                         Courtroom: 10B
    18

    19                                                   Date filed: November 17, 2023
                                                         Removal Date: January 10, 2024
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            [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S
                   SECOND AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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     1         Presently before the Court is Defendant Everi Games Inc.’s (“Everi”) Motion to
     2 Dismiss and/or Strike Plaintiff Jose Valenzuela’s (“Plaintiff”) Second Amended
     3 Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) and 12(f). Everi’s motion is based on
     4 Plaintiff’s failure to meet the Rule 8 pleading standard as a matter of law, including by
     5 failing to plead “enough facts to state a claim to relief that is plausible on its face” as
     6 to Plaintiff’s claims for relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
     7 (2007); see also Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 646 (9th Cir. 2014).
     8 Furthermore, Everi contends that Plaintiff’s generic claim for violation of California’s
     9 Unfair Competition Law (California Business & Professions Code § 17200, et seq.,
   10 “UCL”) fails as a matter of law because, even if he had managed to plead a predicate
   11 violation, the UCL only provides equitable remedies in private actions such as this one,
   12 and Plaintiff cannot plausibly allege he lacks an adequate legal remedy. See Korea
   13 Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003) (UCL actions are
   14 equitable in nature and prevailing plaintiffs are “limited to injunctive relief and
   15 restitution.”). Everi further argues that Plaintiff’s Private Attorney General Act claim
   16 cannot survive the pleadings stage, as this claim is derivative of Plaintiff’s Labor Code
   17 claims, which also fail. Everi contends Plaintiff’s claim under the Fair Labor Standards
   18 Act similarly fails as Plaintiff’s underlying Labor Code claims all fail.
   19          Regarding Plaintiff’s class action allegations and claims, Everi argues that the
   20 Court should dismiss and/or strike them because Plaintiff’s class action allegations do
   21 not meet the minimum pleading requirements, early dismissal is warranted to avoid
   22 discovery abuse, Plaintiff’s class action allegations fail to satisfy Rule 23 on their face,
   23 and it is evident from the pleading that Plaintiff will not be able to adequately and
   24 successfully maintain a class despite being given further opportunity to amend. See,
   25 e.g., Sanders v. Apple Inc., 672 F. Supp. 2d 978, 990 (N.D. Cal. 2009) (“Where the
   26 complaint demonstrates that a class action cannot be maintained on the facts alleged, a
   27 defendant may move to strike class allegations prior to discovery.”). Everi further
   28 contends Plaintiff’s requests for injunctive relief must also be stricken as Plaintiff seeks
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           [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S
                  SECOND AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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     1 adequate remedies at law. See Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571, 623 (9th
     2 Cir. 2010) (“[T]hose putative class members who were no longer Wal–Mart employees
     3 at the time Plaintiffs’ complaint was filed do not have standing to pursue injunctive or
     4 declaratory relief.”), rev’d on other grounds, 564 U.S. 338 (2011)
     5         Upon due consideration and good cause appearing, the Court GRANTS Everi’s
     6 Motion, DISMISSES the First Amended Complaint in its entirety, and STRIKES
     7 Plaintiff’s class action allegations and claims for the reasons set forth in Everi’s Motion.
     8 The Court further GRANTS Everi’s concurrently filed request for judicial notice. See
     9 Asdar Group v. Pillsbury, Madison & Sutro, 99 F.3d 289, 290, n.1 (9th Cir. 1996)
   10 (district court may properly take judicial notice of court orders); Neilson v. Union Bank
   11 of Cal., N.A., 290 F. Supp. 2d 1101, 1112-15 (C.D. Cal. 2004) (same).
   12          As Plaintiff has already amended the complaint twice and further amendments
   13 would be futile, the Court orders that the dismissal is WITH PREJUDICE. See
   14 Ecological Rts. Found. v. Pac. Gas & Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013)
   15 (“Although a district court ‘should freely give leave [to amend] when justice so
   16 requires,’ the court’s discretion to deny such leave is ‘particularly broad’ where the
   17 plaintiff has previously amended its complaint.’”) (internal citations omitted). The
   18 Clerk of Court is instructed to close the case.
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   20          IT IS SO ORDERED.
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           DATED: May ___, 2024
   23                                            Hon. Mónica Ramírez Almadani
                                                 United States District Judge
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           [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S
                  SECOND AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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